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                                              YUGA LABS, INC.
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                                           15                             UNITED STATES DISTRICT COURT
                                           16                           CENTRAL DISTRICT OF CALIFORNIA
                                           17                             WESTERN DIVISION – Los Angeles
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                                           19 YUGA LABS, INC.,                                  Case No.: 2:22-cv-04355-JFW-JEM
                                           20                     Plaintiff and                 PLAINTIFF YUGA LABS, INC.’S
                                                                  Counterclaim Defendant,       STATEMENT OF
                                           21                                                   UNCONTROVERTED FACTS AND
                                           22          v.                                       CONCLUSIONS OF LAW IN
                                                                                                SUPPORT OF YUGA LABS’S
                                           23 RYDER RIPPS, JEREMY CAHEN,                        MOTION FOR SUMMARY
                                                                                                JUDGMENT
                                           24                     Defendants and
                                                                  Counterclaim Plaintiffs.      Date:         April 17, 2023
                                           25                                                   Time:         1:30 p.m.
                                                                                                Courtroom:    7A
                                           26                                                   Judge:        Honorable John F. Walter
                                           27                                                   Trial Date:   June 27, 2023
                                           28

                                                PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS                  Case No. 2:22-cv-04355-JFW-JEM
                                                AND CONCLUSIONS OF LAW IN SUPPORT OF MSJ
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                                                PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS         Case No. 2:22-cv-04355-JFW-JEM
                                                AND CONCLUSIONS OF LAW IN SUPPORT OF MSJ
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